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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA
                               Criminal No.: 22-40 (JRT/LIB)(1)



 UNITED STATES OF AMERICA,                     )
                                               )
                                Plaintiff,     )
 vs.                                           )     DEFENDANT’S MOTION IN LIMINE TO
                                               )           BAR TESTIMONY OF
 HARSHKUMAR PATEL,                             )         EXPERT CRAIG HELLMAN
                                               )
                                               )
                              Defendant.       )
                                               )


         The Defendant, Harshkumar Patel, by and through Counsel, respectfully moves this

 Court for an Order prohibiting the government from offering any testimony by Craig Hellman,

 a senior fingerprint specialist at HSI Forensic Laboratory.

   1. On October 29, 2024, the Government disclosed expert witness Craig Hellman,

senior fingerprint specialist at HSI Forensic Laboratory. EFT No. 145-2.

   2. The subject of the proffered testimony of Mr. Hellman is that he performed an

analysis of the fingerprints of Defendant Patel and that the prints taken on the date of Mr. Patel’s

arrest on February 21, 2024 match those taken of Mr. Patel on September 30, 2020 by the New

York City Police Department.

   3. The government has no evidence that fingerprints belonging to Mr. Patel were taken at

the scene of the crime in the case at bar. Therefore, the fingerprints are of no evidentiary value

and would only serve to confuse the jury and would result in unfair proceedings in this case.

This motion is made pursuant to the Fifth, Sixth, and Eighth Amendments of the United States

Constitution and Rules 402 and 403 of the Federal Rules of Evidence.
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                                             Respectfully submitted,

Dated:       November 13, 2024               /s/ Thomas More Leinenweber
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